      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 1 of 64



                    UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION


IKON OFFICE SOLUTIONS, INC.     *
                                *
               Plaintiff,       *
                                *
     v.                         *      CIV. NO. SA-06-CA-434-FB
                                *
JOHN FURNISH, individually, and *
SOUTHWEST LEGAL SOLUTIONS, INC. *
                                *
               Defendants.      *


                    MEMORANDUM AND RECOMMENDATION

     Before the Court is defendant John Furnish’s motion for

summary judgment.     (Docket nos. 31,32,41).      Plaintiff responded.

(Docket no. 38,46).     Upon consideration the Court concludes the

motion should be GRANTED in part and DENIED in part.

                          Factual Background

     The undisputed facts reveal John Furnish (Furnish) began his

employment with Nightrider Overnight Copy Services, a document

management and copy service in 1995.       As part of his employment,

Furnish called on local law firms to obtain orders for document

reproduction.   At the time he joined, Furnish signed Nightrider’s

“Account Manager Employment Agreement” dated August 21, 1995 (the

“First Agreement”).     See IKON Response, Docket no. 39, exh. E.

This agreement provided, in pertinent part, that because IKON

derived “substantial good will from sales and repeat sales to

                                   1
        Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 2 of 64



customers and referrals”, for twelve months following termination,

Furnish would not “contact, cause to be contacted, or communicate

with   any   specific    accounts    or    customers   for   which   [he]   was

responsible or with whom [he] had contact during the twelve (12)

months immediately preceding termination (the Prohibited Competing

Activities).”       Docket no. 39, exh. B. p.3.         After the agreement

specifies     the    meaning   of   “trade    secret”    and    “confidential

information”, Furnish further agreed he would “not, during or after

the term of his employment,... disclose Confidential Information”.

Id. at pp. 5-6.

       In January 1997, Nightrider changed its name to IKON Office

Solutions (IKON).       Following the change, IKON required Furnish to

sign another agreement (the “Second Agreement”).               Id. at exh. F.

In the Second Agreement, in the subsection titled, “Confidential

Information    and    Non-Competition”,      Furnish   provided    that   after

termination he would “keep and retain in confidence and shall not

disclose” to any person, except as required by law, any defined

“Confidential Information”.         Id. at exh. F, p. 2.       Furnish further

provided that for twelve months after termination, he would not

directly or indirectly,

       a.    Become associated or affiliated with, employed by,
             or financially interested in any business operation
             which   engages   in  competition   with   [IKON’s]
             business...;

       b.    Make any effort, directly or indirectly,                 to
             solicit, encourage, or induce any customer               or

                                       2
        Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 3 of 64



              prospective customer of [IKON] to obtain business
              and/or services from any entity ... which is
              engaged in any activity competitive with the
              business of [IKON];

       c.     Cause or attempt to cause any present or
              prospective customer of [IKON] to reduce its
              business with [IKON]; or,

       d.     Accept business from any Customers, on [his] behalf
              or on behalf of any other person and/or entity not
              affiliated with [IKON] irrespective of whether [he]
              solicited or originated [IKON’s] relationship with
              such Customers.

Id.

When Furnish left his employment with IKON in 2005, he went to work

for its competitor, Southwest Legal Solutions, Inc. (Southwest).

While at Southwest, Furnish continued to provide copy services to

four clients he held at IKON.             IKON then filed this suit.

       Against Furnish, IKON alleges two, separate causes of action

for   breach     of   the    First    Agreement    and    breach    of   the   Second

Agreement.      IKON also asserts causes of action of misappropriation

of    trade    secrets      and    tortious    interference       with   actual    and

prospective      business         relationships.       Against     Southwest,     IKON

alleges tortious interference with its actual and prospective

business relationships, tortious interference with its’ Employment

Agreements with Furnish, and misappropriation of trade secrets.

Furnish       asserted      affirmative       defenses     that    the   employment

agreements      are   unenforceable       and    the     affirmative     defense   of

novation, i.e. the Second Agreement constituted a termination of



                                           3
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 4 of 64



the First Agreement.      Furnish now seeks summary judgment on all of

IKON’s causes of action and his affirmative defenses.

                            Standard of Review

     Federal Rule of Civil Procedure 56(b) provides a defending

party may move, with or without supporting evidence, for a summary

judgment in the party’s favor.        Summary judgment shall be rendered

if the pleadings and evidence show there is no genuine issue as to

any material fact, and the moving party is entitled to judgment as

a matter of law.      FED . R. CIV . P. 56(c).    A party seeking summary

judgment bears the initial burden of informing the court of the

basis for its motion, and identifying those portions of the record

which it believes demonstrate the absence of a genuine issue of

material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

The party opposing a motion must present affirmative evidence to

defeat a properly supported motion for summary judgment.            Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 257 (1986).           A defendant who

moves for summary judgment on the plaintiff’s claim may satisfy its

burden in two ways: (1) submit evidence that negates the existence

of a material element of the plaintiff’s claim; or (2) show there

is not evidence to support an essential element of the plaintiff’s

claim.      Celotex Corp., 477 U.S. at 325.       An adverse party may not

rest upon the mere allegations or denials of his pleadings, but his

response, by affidavits or otherwise, must set forth specific facts

showing there is a genuine issue for trial; if he does not so

                                      4
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 5 of 64



respond, summary judgment, if appropriate, shall be entered against

him.    FED . R. CIV . P. 56(e).

       The mere existence of some alleged factual dispute between the

parties will not defeat an otherwise properly supported motion for

summary judgment; the requirement is that there be no genuine issue

of material fact.        Anderson, 477 U.S. at 247-248.         The dispute

about a material fact is genuine if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.

Id.    All of the evidence and inferences drawn from that evidence

must be viewed in the light most favorable to the party opposing

the motion for summary judgment.           Hibernia Nat’l Bank v. Carner,

997 F.2d 94, 97 (5th Cir. 1993).

                                   DISCUSSION

I.     Breach of Non-Compete Covenants

       In the complaint, IKON alleges Furnish breached the employment

agreements when he accepted employment with Southwest and solicited

“nearly all of the very same clients he had previously serviced for

IKON.”     Through these actions, IKON alleges Furnish took unfair

advantage of its goodwill with its customer base and took unfair

advantage of the relationships developed through his work for IKON.

       Furnish argues the employment agreements are unenforceable

because    IKON   does   not   possess     any   tangible   confidential   or

proprietary information worthy of protection by a non-compete

covenant.    Even if IKON could show a protectable interest, Furnish

                                       5
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 6 of 64



argues the Second Agreement is unenforceable as an unfair restraint

on trade because the restrictions imposed exceed those reasonably

necessary    to    protect       its    claimed       interest   and   would       impose

hardship.     Although he admits working for a competitor, Furnish

contends    he    has    not     competed   unfairly       and   has   not   otherwise

breached the non-compete covenants because his employer, Southwest,

had relationships with his customers before Furnish became its

employee.        Furnish       also    asserts    the      affirmative      defense   of

novation, under which the entire Second Agreement would replace the

entire First Agreement.               Furnish contends the terms of the two

agreements are in such conflict that they cannot exist together,

and therefore, this Court must find novation as a matter of law.

     A.     Novation

     Before addressing the parties’ arguments with regard to the

enforceability of the non-compete covenant, this Court must address

the arguments regarding novation, as this affirmative defense could

affect the Court’s focus in its determination of the enforceability

of the non-compete covenant.                While unconventional and remote,

Furnish seeks summary judgment on his novation affirmative defense.

In his motion for summary judgment, Furnish asserts, in a footnote,

that the two agreements are inconsistent with one another, and

therefore,       the    Second    Agreement      is    a   novation    of    the    First

Agreement as a matter of law.                   Docket no. 32, p. 11, ft. 3.

Furnish     specifies      the     specific       provisions      he   contends       are


                                            6
          Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 7 of 64



inconsistent.      Id.   In his reply brief, Furnish presents the same

arguments in the body of his brief, contending specific provisions

of the two agreements are so blatantly inconsistent the Court

should infer novation.       Docket no. 41, pp. 2-3.      Furnish states the

Second Agreement expands the definition of “IKON customers” and

expands the time, geographic area, and scope of activity covered in

the   non-compete     agreement.1      IKON   contends   Furnish    failed   to

satisfy his burden of proof on 2 of the 4 elements he must prove

for his novation defense: whether the intent of the parties to

accept a new agreement and to replace the First Agreement is clear

such that reasonable minds could not differ.

      Novation is the substitution of a new agreement in place of an

existing agreement between the same parties. The novation contract

discharges the original obligation and only the new obligation may

be enforced.      Fulcrum Central v. AutoTester, Inc., 102 S.W.3d 274,

277 (Tex.App.-Dallas 2003, no pet.).          As an affirmative defense to

a breach of contract claim, Furnish bears the burden of proof of

novation. Id. To establish this affirmative defense, Furnish must

show: (1) the validity of a previous obligation; (2) an agreement

among all parties to accept a new contract; (3) the extinguishment

of the previous obligation; and (4) the validity of the new

agreement.       Id. (citing Vickery v. Vickery, 999 S.W.2d 342, 356


      1
         The challenged provisions all exist within the terms of the non-compete
covenant.

                                       7
            Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 8 of 64



(Tex. 1999)).2           Before its analysis of these elements, however, a

court may infer, as a matter of law, a new agreement is a novation

of an earlier agreement when the new agreement is so inconsistent

with        the    earlier    agreement      the   two   agreements    cannot      exist

together.          CTTI Priesmeyer, Inc. v. K & O Ltd. P’ship, 164 S.W.3d

675, 681 (Tex.App.-Austin 2005, no pet.); Fulcrum Central, 102

S.W.3d        at     277;    Scalise    v.    McCallum,    700     S.W.2d   682,     684

(Tex.App.-Dallas 1985, writ ref’d n.r.e).                      In this event, the

inconsistency must be more than simple nonuniformity, but must

amount to a literal conflict in that the two provisions cannot

continue in effect at the same time.                 See e.g. Chastain v. Cooper

& Reed, 257 S.W.2d 422, 424 (Tex. 1953); Scalise, 700 S.W.2d at

684.

       In the absence of inconsistent provisions upon which a Court

must infer novation as a matter of law, “a second contract will

operate as a novation of a first contract only when the parties to

both contracts intend and agree that the obligations of the second

shall       be     substituted    for   and   operate     as   a   discharge    of   the

obligations of the first.”                Chastain, 257 S.W.2d at 424.             Thus,

whether a subsequent agreement works as a novation of the first is

a question of intent.            Allstate Ins. Co. v. Clarke, 471 S.W.2d 901,

907 (Tex.Civ.App.-Houston [1st Dist.] 1971, writ ref’d n.r.e.)


        2
                 The parties do not dispute or raise argument with regard to the first
element.

                                              8
        Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 9 of 64



(citations omitted).        In the absence of express agreement, whether

a new contract operates as a novation of an earlier contract is

“usually a question of fact, and can only become a question of law

when the state of the evidence is such that reasonable minds cannot

differ as to its effect.”       Fulcrum Central, 102 S.W.3d at 277-278;

Chastain, 257 S.W.2d at 424.          In this event, the intent must be

clear, as novation is never presumed.           Fulcrum Central, 102 S.W.3d

at 277.

       Thus, if, on summary judgment, the Court finds an employee has

shown adequate basis to infer novation as a matter of law, it must

grant summary judgment on this affirmative defense.              If the Court

finds inference of novation is not warranted, it must analyze the

four elements of novation to determine if undisputed summary

judgment evidence establishes them conclusively. If not, the Court

must deny summary judgment on the novation defense, as the question

of intent is a fact question for the jury.           See id.

       Accordingly, before this Court addresses the elements of the

novation   defense,    it    must   determine    whether   any   inconsistent

provisions exist to warrant inference of novation as a matter of

law.    Review and comparison of the specified provisions in the

First and Second Agreements reveals they are not so inconsistent

that they cannot continue in effect at the same time.             First, the

Second Agreement changes the definition of “IKON customers” from

those the Account Manager actually dealt with, to any customer or

                                       9
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 10 of 64



prospective customer he had any contact with.                This is simply an

expansion of the definition; the two provisions are not directly

contradictory such that they cannot exist together.

      Similarly, the Second Agreement expands the geographic area

covered within the non-compete covenant from Bexar County to “[a]ll

fifty (50) states which comprise the United States”.                It expanded

the scope of activity covered by the non-compete covenant from

“commercial copying and commercial imaging” to a wide range of

activity, such as selling, servicing, or leasing a wide array of

office    equipment,     or   performing    any    service   in   the   field    of

document     reproduction      or   imaging      including   “development       and

implementation of additional business segments ... and the growth

through acquisitions of entities engaged in any and all of the

aforementioned businesses.” Finally, the Second Agreement expanded

the time limit of the non-compete covenant from one year after

termination of employment to include a tolling provision extending

the non-compete covenant’s restrictions “for the amount of time the

violation continues.”

      These expansions of the coverage of the non-compete covenant

are   simply     that,    expansions       of    pertinent   definitions        and

restrictions, not direct contradictions of those definitions and

restrictions in the previous agreement.             As such, the expansion of

definitions and restrictions are not so contradictory that the two

covenants cannot exist together.                For these reasons, the Court


                                       10
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 11 of 64



finds the Second Agreement does not contain blatantly inconsistent

provisions to warrant inference of novation of the First Agreement

as a matter of law.      With this finding, the Court must determine

whether Furnish presents sufficient summary judgment evidence on

the four elements of novation such that no genuine issue of

material fact exists whether the Second Agreement was a novation of

the First Agreement.

     IKON   contends     “the   Second     Agreement    supplements          the

prohibitions in the [First] Agreement by adding new and separate

obligations.”     As a supplement, IKON contends the Second Agreement

only adds new and wider restrictions, and Furnish could comply with

both sets of obligations.       Based upon its contention the Second

Agreement   was    a   supplement   to   the   First   Agreement,      not    a

replacement, IKON contends the summary judgment evidence presents

a genuine issue of material fact on the elements Furnish must prove

to establish novation.

     The summary judgment evidence consisting of the two agreements

shows a genuine issue of material fact exists regarding the intent

of the parties to effect a novation.       While Furnish asserts it was

his intent that the Second Agreement took the place of the First

Agreement, the Second Agreement states, “[t]his Agreement and the

prohibitions contained herein shall supplement, and be in addition

to, any other agreement with respect to the subject matter hereof.”

Docket no. 32, tab 4, par. 18.      Given this provision and the effect


                                    11
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 12 of 64



of the provisions expanding certain definitions and restrictions,

the state of the evidence is such that reasonable minds could

differ as to the effect of the Second Agreement.            The intent of the

parties is not clear.       Because reasonable minds could differ as to

the effect of the Second Agreement, a genuine issue of material

fact exists on the issue whether the Second Agreement was a

novation of the First.        Thus, this Court may not award summary

judgment in Furnish’s favor on the novation defense as it is a

question of fact to be determined by a jury.           See CTTI, 164 S.W.3d

at 681; Fulcrum Central, 102 S.W.3d at 277.            Furnish’s motion for

summary judgment on his affirmative defense of novation, should,

therefore, be DENIED.

     B.    Separation of First and Second Agreements

     Given this determination that a genuine issue of material fact

exists on the issue whether the Second Agreement was a novation of

the First Agreement, and IKON’s arguments that the Second Agreement

was a supplement to the First Agreement, this Court must also

address   the   viability    of   IKON’s   assertion   of    a   separate   and

distinct cause of action for breach of the non-compete covenant

under each separate agreement.       IKON asserts a cause of action for

breach of the non-compete covenant under the First Agreement and

also asserts a separate cause of action for breach of the non-

compete covenant under the Second Agreement.             This framework is




                                     12
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 13 of 64



inconsistent with IKON’s assertion that the Second Agreement is

merely a supplement to the First Agreement.

     As    a    supplement,   the   Second   Agreement   would   act   to   add

additional or lacking terms, but would exist in conjunction with

the First Agreement.      See BLACK ’S LAW DICTIONARY , 1480 (8th ed. 1999).

If, as IKON asserts, the Second Agreement is a supplement to the

First Agreement; the two actually exist together as one document,

one contract. They cannot exist separately and distinctly from one

another.       Because, as IKON asserts, the two exist together as one

contract, IKON cannot assert separate and distinct causes of action

for breach of the non-compete covenant in each writing.                On the

other hand, if the jury were to find the Second Agreement is a

novation of the First Agreement, not a supplement, this finding

would extinguish the First Agreement altogether, thus extinguishing

any separate cause of action for breach of the non-compete covenant

contained therein.

     Therefore, under either perception of the Second Agreement,

whether it exists as a supplement to the First Agreement or as a

novation, IKON cannot assert a separate cause of action for breach

of the non-compete covenants in both agreements.             IKON may only

assert one cause of action for breach of the non-compete covenant,

either as it exists in the Second Agreement in the event of a

finding of novation, or as the non-compete covenant in the Second

Agreement exists as a supplement to that in the First Agreement.


                                      13
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 14 of 64



Thus, this Court finds the framework of IKON’s assertion of two

causes of action for breach of the non-compete agreements is not

possible under these facts.     Given this factual impossibility with

regard to the framing of the causes of action, this Court will

proceed as if IKON asserts one cause of action for breach of the

non-compete covenant. Also, although this Court finds a jury issue

exists on the issue of novation, it will continue with its analysis

of the remaining substantive arguments on the asserted cause of

action for violation of the non-compete covenant. In the event the

uncertainty of the outcome on the novation defense pertains to the

discussion, the Court will address it at the appropriate time.

     C.   Enforceability of Non-Compete Covenant

     Employment contracts that contain a covenant not to compete

are disfavored in Texas, and these covenants are presumptively

unenforceable as contrary to public policy because they could

function as an unfair restraint of trade.         DeSantis v. Wackenhut

Corp., 793 S.W.2d 670, 681-682 (Tex. 1990); Butts Retail, Inc. v.

Diversifoods, Inc., 840 S.W.2d 770, 773 (Tex.App.-Beaumont 1992,

pet. denied).   To protect against such impediments on trade, the

Texas Legislature passed the Covenants Not to Compete Act (CNCA),

which outlines required criteria to overcome this presumption of

unenforceability.   TEX . BUS . & COM CODE ANN . §§ 15.50-15.52; see Light

v. Centel Cellular Co. of Tx., 883 S.W.2d 642, 643-644 (Tex. 1994).

Under the CNCA, to prove the non-compete covenant is enforceable,

                                   14
          Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 15 of 64



the employer must show: (1) the employer and employee entered into

a personal services agreement, separate from a covenant not to

compete; (2) the covenant is ancillary to or part of the otherwise

enforceable personal services agreement at the time the agreement

was made; (3) the covenant’s limitations were reasonable as to

time, geographic area, and scope of activity to be restrained; (4)

the covenant’s limitations do not impose a greater restraint than

is necessary to protect the goodwill or other business interest of

the employer.      TEX . BUS . & COM CODE ANN . § 15.50(a); Light, 883 S.W.2d

at 644; Butler v. Arrow Mirror & Glass, Inc., 51 S.W.3d 787, 792

(Tx. App.-Houston [1st Dist.] 2001, no pet.).              In consideration of

the requirements of Section 15.50 of the CNCA, to prove breach of

a non-compete covenant, the employer must establish the four prongs

of enforceability and must also show the employee breached the

covenant not to compete.3          See Butler, 51 S.W.3d at 792; see also

O’CONNOR’S TEXAS CAUSES   OF   ACTION , Chap. 5-I, § 1.1, § 2.5 (2007).

      The issue whether a covenant not to compete is enforceable is

a question of law.        Hardy v. Mann Frankfort Stein & Lipp Advisors,

Inc., No. 01-05-01080-CV, 2007 WL 1299661, at *6 (Tx. App.-Houston



      3
               While the burden of proof on enforceability is placed upon the
employer, when unenforceability is raised as an affirmative defense, the burden
of proof shifts to the employee to negate the statutory elements of
enforceability.          Therefore, a non-compete covenant is presumptively invalid;
however, the employer may prove it to be valid by satisfying the 4 statutory
elements.        But, if the employee raises unenforceability as an affirmative
defense, the employee must negate the 4 statutory elements of enforceability.
See T X . B US . & C OM . C ODE A NN . § 15.51.

                                        15
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 16 of 64



[1st Dist.] 2007, pet. filed)(citing Light, 883 S.W.2d at 644);

Butler, 51 S.W.3d at 792.             Because enforceability is a question of

law,   the   issue       must    be   determined    by   this   Court    on   summary

judgment.         Should the Court determine the subject non-compete

covenant is not enforceable, then summary judgment must be granted

on this issue.        However, if the subject covenant is enforceable,

then the question whether it was violated (prong 5) is a question

of fact to be determined by summary judgment evidence or by jury

trial.

             1.     Business Interest

       Furnish’s primary summary judgment arguments relate to the

second    prong     of    this    inquiry    of    enforceability:      whether   the

covenant is ancillary to or part of an otherwise enforceable

personal services agreement at the time the agreement was made. To

satisfy the second prong of this inquiry, the employer must show

(1) the consideration given by the employer in the otherwise

enforceable agreement gives rise to the employer’s interest in

restraining the employee from competing; and (2) the covenant is

designed to enforce the employee’s consideration or return promise

in the otherwise enforceable agreement.                  Evans World Travel, Inc.

v. Adams, 978 S.W.2d 225, 230 (Tex. App.-Texarkana 1998, no pet.).

In this inquiry, under the first criteria, the business interest

protected by the covenant must be worthy of protection. Light, 883

S.W.2d at 647.           Business goodwill, confidential or proprietary

                                            16
       Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 17 of 64



information, and trade secrets are examples of business interests

that are worthy of protection by a covenant not to compete.

DeSantis, 793 S.W.2d at 682; West v. Pennyrich Int’l, 447 S.W.2d

771, 773 (Tex. App.-Waco 1969, no writ).              Interests that are not

protectable under a covenant not to compete are general skills and

knowledge that employees develop through the course of employment,

personal goodwill, and sources of professional referrals.                      See

Evans World Travel, Inc., 978 S.W.2d at 231; Philip H. Hunke, Inc.

v. Wilcox, 815 S.W.2d 855, 858 (Tex. App.-Corpus Christi 1991, writ

denied); Hill v. Mobile Auto Trim, Inc., 725 S.W.2d 168, 171-172

(Tex. 1987).

                  a.     Protectability

     Furnish contends the non-compete covenant is an unreasonable

restraint as a matter of law because IKON holds no business

interest warranting such protection.           Furnish contends he received

no   meaningful      training;    he    did   not     physically      remove   any

information given to him by IKON or used by him during his

employment;    the     information     IKON   seeks    to   protect    is   not   a

protectable trade secret, and, IKON cannot claim ownership in the

knowledge,     skills,    and    goodwill     Furnish       gained    during   his

employment. Furnish contends he developed only a personal goodwill

with his clients, and he developed and utilized only general skills

and knowledge while employed with IKON.               Furnish contends these

interests are not protectable by the non-compete agreement.

                                        17
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 18 of 64



     Review of the applicable agreements reveals the business

interest IKON seeks to protect in the non-compete covenant is its

database     of     customer    lists,     customer     information,      pricing

strategies, and goodwill.         Docket no. 39, exh. B, pp. 4-5; exh. C,

pp. 1-2.   To begin, in presenting his arguments with regard to this

cause of action, Furnish mixes argument related to the issue

whether the business interest IKON seeks to protect is a trade

secret with the issue this Court must address here, i.e. whether

the business interest IKON seeks to protect by the non-compete

covenant is, indeed, worthy of such protection.                    Though closely

related, and many times based upon the same matter, the two

inquiries focus on different criteria.                The standard to find a

trade secret is much higher than that to find a business interest

protectable by a non-compete covenant.                 Therefore, legitimate

interests protectable by a non-compete agreement may include trade

secrets,     as    well   as   otherwise      confidential    and     proprietary

information.       See DeSantis, 793 S.W.2d at 682.

     Thus,        Furnish’s    arguments      with   regard   to     whether   the

collective customer information IKON seeks to protect by the non-

compete covenant constitutes a trade secret is irrelevant to this

Court’s determination here.         To determine whether summary judgment

is proper on this cause of action for violation of a covenant not

to compete, this Court must only determine whether the collective

customer information IKON sought to protect by the non-compete


                                         18
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 19 of 64



covenant is protectable confidential or proprietary information.

In making this determination, it is also immaterial whether Furnish

physically removed the information. This Court’s focus lies on the

issue whether the information IKON seeks to protect with the non-

compete covenant is confidential or proprietary. See DeSantis, 793

S.W.2d at 682.    If so, the information is consequently worthy of

the protection of a reasonable non-compete covenant.

     The summary judgment evidence presented by the parties shows

the customer information IKON seeks to protect in its non-compete

agreement is confidential and proprietary, and therefore, worthy of

protection of a reasonable non-compete agreement.           IKON regards

this customer information, which includes contact names, needs,

transaction history, profit margin, and pricing to be of great

value in its ongoing relationships with its customer base.             Docket

no. 39, tab A, Janisch affidavit, pars. 17-22; tab D, Smith

affidavit,   pars.   10-16.      Because   it   regards   this   customer

information with such importance, IKON took significant effort to

protect its confidentiality.       Id; see also Docket no. 32, tab 3,

Wood Depo., pp. 50-53.        IKON presents summary judgment evidence

these efforts include requiring employees to sign non-compete

agreements and agreements to keep the information confidential,

periodic IKON Code of Ethics training, password protection and

encryption of information, and limitation of access to certain

programs and data.   Docket no. 39, tab A, pars. 22-26; tab D, pars.

                                    19
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 20 of 64



16-19.      Furnish also admits the information is confidential.

Docket no. 39, tab F, pp. 60-61, 116-117.             Because this summary

judgment evidence shows the customer information IKON sought to

protect     by    the   non-compete     covenant    is   confidential     and

proprietary, IKON held a protectable business interest.                   See

DeSantis, 793 S.W.2d at 682; West, 447 S.W.2d at 773.             Therefore,

Furnish’s first argument that the non-compete agreement is not

enforceable must fail.

                   b. Nature of Goodwill/Business Interest

     Next, the parties engage in considerable argument pertaining

to the issue whether the goodwill generated by Furnish’s contact

with his clients constituted protectable business goodwill or non-

protected personal goodwill.           IKON contends Furnish generated

significant business goodwill in his dealings with its customers,

and this goodwill is protectable through the non-compete covenant.

Furnish contends he utilized only his general knowledge, skills and

general experience acquired during his employment with IKON when he

went to work for Southwest.

     IKON presents evidence that while employed with IKON Furnish

solicited and developed client relations for IKON’s benefit using

IKON’s market recognition and reputation.           Furnish gained clients

during the time he was an IKON employee and thereby gained their

trust and patronage for IKON’s services.           Furnish maintained these

client accounts as an “agent-employee” for IKON’s benefit, and as

                                      20
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 21 of 64



the “face” of IKON, became identified by the customer with the

product being sold.     See Docket no. 39, tab A, Janisch aff., pars.

7-10; tab D, Smith aff. pars. 4,9.

     This evidence shows Furnish developed business goodwill for

the benefit of IKON because he fostered IKON’s reputation and

trustworthiness in these relationships.               Furnish utilized this

trust to develop a familiarity and trust in IKON, not just in

himself as a person. So, while Furnish may have generated personal

goodwill in his relations with his client base, he also developed

business goodwill for IKON’s benefit.                Because some goodwill

generated    by   Furnish’s   contact     with   his   clients     constituted

business    goodwill   protectable   under       a   non-compete    agreement,

Furnish’s second argument that IKON possessed no business interest

worthy of protection must also fail.

     Therefore, Furnish’s argument that IKON holds no business

interest worthy of protection in a non-compete agreement must fail.

Even accepting as true Furnish’s arguments that he did not receive

meaningful training, did not physically remove any information, and

he can use his general knowledge gained during his employment to

compete with IKON, given this finding that IKON’s collective

customer information is worthy of protection as confidential,

Furnish’s arguments on this basis that the non-compete agreement is

an unreasonable restraint on trade must fail.




                                     21
       Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 22 of 64



           2.     Reasonableness of Restrictions

      Next, Furnish argues the non-compete covenant fails under the

third statutory element regarding the enforceability of a non-

compete covenant: the covenant’s limitations were reasonable as to

time and geographic area, and scope of activity to be restrained.

Under the third statutory prong of enforceability of a non-compete

covenant, an employer must show the covenant’s restraints on time,

geographic area, and scope of activity are reasonable.             See TEX .

BUS. & COM CODE ANN . § 15.50(a); Butler, 51 S.W.3d at 792; Light, 883

S.W.2d at 644.      Determination whether a non-competition agreement

is “reasonable” under the third statutory element is a question of

law for the Court.      Butler, 51 S.W.3d at 792.

      With regard to the third statutory element, Furnish contends

the non-compete covenant’s restrictions of time and geographic area

exceed those reasonably necessary to protect the claimed interest,

and for these reasons, it is not enforceable.               Specifically,

Furnish argues the time period of restraint is unreasonable because

it is automatically tolled for the amount of time any violation of

the   non-compete    agreement   occurs.     Furnish   argues   the     named

geographic area is unreasonable because it restricts him from

competing in areas outside the territory in which he worked during

his employment.




                                    22
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 23 of 64



                     a.     Time: Tolling Provision

     The non-compete covenant contained in the First and Second

Agreement both state the restrictive terms extend “for a period of

twelve calendar months after termination of employment.”                           Docket

no. 32, exh. 2, p.3, par. 2.1; Docket no. 32, exh. 4, p. 2, par.8.

Later, the non-compete covenant in the Second Agreement modifies

this temporal limitation, stating, “the period of restraint ...

shall be automatically tolled for the amount of time the violation

continues.”         Docket      no.   32,   exh.    4,    p.4,    par.   20.       In   its

complaint,      IKON      seeks    compensatory,         punitive,     and    liquidated

damages     for    Furnish’s       alleged    violations         of   the    non-compete

covenant that occurred during and beyond the initial 12-month

restraint period.

     Furnish argues the tolling provision in paragraph 20 of the

Second Agreement establishes an unreasonable extension of the

length     of     time    the     non-compete      covenant      remains      in   effect

(restraint period).             Because the provision extends the restraint

period      indefinitely,          Furnish       contends        it    is     inherently

unreasonable.            IKON contends the duration of the non-compete

provision is not indefinite, but instead, it admits the duration

“is limited to 12 months from the date of Furnish’s departure from

IKON.”     IKON contends “[t]he tolling provision does not lengthen

the temporal limitations of Furnish’s contractual obligations but,

rather, enables IKON to enjoy the same 12-month benefit of its

                                            23
       Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 24 of 64



bargain to which it is entitled under the Agreement in the event of

a breach.”   Because it is entitled to some 12-month period of non-

violative conduct, IKON contends the tolling provision acts to toll

the restraint period while any violative conduct occurs, and then

the restraint period is enacted upon its cessation.

      The pending issue with regard to whether the Second Agreement

was a novation of the First Agreement, would have no affect on this

determination of reasonableness of the time restriction.                If the

Second Agreement is a supplement, the two writings would exist as

one   contract,   and   therefore,    the    Court   must   view   the    time

restriction and tolling provision as they appear in the Second

Agreement as an addition to, or expansion of, the corresponding

time-limit provision as it appears in the First Agreement.              If the

Second Agreement is a novation of the First Agreement, the Court

would only base its determination of reasonableness on the time

restriction and tolling provision as they appear in the Second

Agreement.   Thus, under either perception of the Second Agreement,

the reasonableness conclusion is the same.

      The Court finds initially, in paragraph two of the Second

Agreement and as it appears in the First Agreement, the non-compete

covenant specifies a reasonable restraint period of twelve months

after termination of employment.          The parties do not dispute this

restraint period is reasonable under Texas common law, which




                                     24
          Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 25 of 64



supports a restraint period from three to five years.4                However,

the parties’ arguments with regard to the tolling provision change

the focus of the reasonableness inquiry from the duration of the

restraint period to the time of its commencement.            In this regard,

the Court finds the initial time restraint as it is expanded by the

tolling provision in the Second Agreement acts as an unreasonable

restraint.

      By postponing enactment of the initial restraint period for as

long as any violation of the non-compete covenant continues, the

tolling provision in Paragraph 20 of the Second Agreement allows

the restraint period to begin at an indefinite time.             On its face,

this clause creates an unreasonable restraint because it creates an

indefinite period in which Furnish’s actions are restrained and it

creates an indefinite time at which this restraint will begin.

While Furnish’s actions may be reasonably restrained for only one

year, under the tolling provision this one year could effectively

begin several years after Furnish’s termination from IKON and could

effectively restrain his actions for an indefinite and ambiguous

period.      A clause that is based in such indefiniteness cannot be

upheld as a reasonable restraint on trade.             See Gen’l Devices v.



      4
           Generally, time restrictions up to five years have been upheld. See
e.g., Stone v. Griffin Comms. & Sec. Sys., Inc., 53 S.W.3d 687, 696 (Tex. App.-
Tyler 2001, no pet.)(supporting citations omitted); Chandler v. Mastercraft
Dental Corp., 739 S.W.2d 460, 464-465 (Tex. App.-Ft. Worth 1987, writ
denied)(five-year restriction upheld); AMF Tuboscope v. McBryde, 618 S.W.2d 105,
108 (Tex.Civ.App.-Corpus Christi 1981, no writ)(two-year restriction upheld).

                                       25
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 26 of 64



Bacon, 888 S.W.2d 497, 504 (Tx. App.-Dallas 1994, writ denied)(a

covenant that is not sufficient as to time, or that might exist

indefinitely is unreasonable); ALW Mktg. Corp. v. McKinney, 421

S.E.2d 565, 568 (Ga. App. 1992)(tolling provision that potentially

extends the duration of the covenant without time limit renders it

unreasonable and unenforceable on its face). Thus, this Court must

find it is not reasonable to extend the restraint period to begin

at an indefinite and ambiguous time.

     Based upon a finding that the time restriction contained in

the non-compete covenant is unreasonable, this Court must find the

non-compete covenant, consisting of that contained in the First as

supplemented by the Second Agreement, or as it appears in the

Second Agreement, alone, is not enforceable as to this specific

provision.   Given this finding, Furnish is entitled to summary

judgment on IKON’s cause of action for breach of the non-compete

covenant based upon its lack of enforceability.         However, instead

of invalidating an otherwise unenforceable non-compete covenant, a

Court must reform any unreasonable restrictions if it also finds

the restrictions impose greater restraint than necessary to protect

a valid business interest (prong 4 of Furnish’s burden of proof).

See TEX. BUS . & COM CODE ANN . § 15.51(c).        Thus, this Court must

postpone its determination whether the non-compete covenant as it

exists under these facts should be reformed until it addresses the

parties’   arguments   with   regard    to   the   fourth   prong   of   the


                                   26
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 27 of 64



enforceability     test:    whether   the   restrictions      impose   greater

restraint than necessary to protect a valid business interest.

                   b.    Geographic Area

     The   issue    whether    a   non-compete    covenant     is   reasonable

regarding geographic area depends upon the nature and extent of the

employer’s business and the degree of the employee’s involvement.

Allan J. Richardson & Assocs., Inc. v. Andrews, 718 S.W.2d 833, 835

(Tex.App.-Houston [14th Dist.] 1986, no writ).              The covenant must

bear some relationship to the activities of the employee and the

employee’s territory.         Id.; Butler, 51 S.W.3d at 793.            It is

presumed a geographic limitation which covers only the area where

the employee worked during his employment is reasonable.               Butler,

51 S.W.3d at 793.       On the other hand, a geographic limitation that

is indefinite or unlimited is unreasonable.            See Juliette Fowler

Homes, Inc. v. Welch Assocs., 793 S.W.2d 660, 663 (Tex. 1990).

Thus, a covenant not to compete with a broad geographical scope is

unenforceable,     particularly     when    no   evidence    establishes   the

employee actually worked in all areas covered by the covenant.

Butler, 51 S.W.3d at 793-794; Evan’s World Travel, Inc., 978 S.W.2d

at 233.

     The parties do not dispute that Furnish’s customer base and

territory while employed by IKON consisted of law firms in the San

Antonio area, or, at most, Bexar County.           See Original Complaint,

docket no. 1, par. 6,38; docket no. 32, Furnish’s Appendix, exh. 1,

                                      27
          Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 28 of 64



Furnish depo. pp. 1,12.            The summary judgment evidence presented

also shows Furnish’s customer base was limited to the geographic

area of San Antonio.         Docket no. 32, exh. 1, p. 12.            Furnish did

not pursue customers outside this geographic area, and his customer

base was limited to law firms.                 Docket no. 32, exh. 1, Furnish

depo. pp. 3,12.

      The pending issue with regard to whether the Second Agreement

was a novation of the First Agreement, would have no affect on this

determination of reasonableness of the geographic area restriction.

If the Second Agreement is a supplement, the two writings would

exist as one contract, and therefore, the Court must view the

geographic area restriction as it appears in the Second Agreement

as an addition to, or expansion of, the corresponding provision as

it appears in the First Agreement.               If the Second Agreement is a

novation of the First Agreement, the Court would only base its

determination of reasonableness on the geographic area restriction

as   it    appears   in   the   Second    Agreement.        Thus,    under   either

perception of the Second Agreement, the reasonableness conclusion

is the same.

      The geographic area restriction in the First Agreement limits

Furnish’s activities “to the counties or counties in which [he]

worked      for   [IKON   during    the   twelve     (12)   months    immediately

preceding termination....”           Docket no. 32, exh. 2, p.3, par. 2.1.

The geographic area restriction contained in the Second Agreement

                                          28
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 29 of 64



expands and adds to this restriction to cover the geographic area

of “[a]ll fifty (50) states which comprise the United States.”

Docket no. 32, exh. 4, p.2, par. 9.          Thus, if a supplement, the two

writings, as they exist as one contract limit Furnish’s activities

in all fifty states.          If the Second Agreement is a novation, it

also limits Furnish’s activities in all fifty states.

     This Court finds the geographic area restriction under either

interpretation of the Second Agreement is blatantly unreasonable as

a matter of law.        Although IKON might be a national firm that

conducts     business   all    over   the   United   States,   the    focus   of

determination of reasonability of the non-compete covenant is the

territory where Furnish worked during his employment.                Because it

is undisputed that Furnish held clients only in San Antonio, worked

only in San Antonio and pursued clients only in San Antonio, it is

presumed this area is a reasonable limitation of any non-compete

agreement.       See Butler, 51 S.W.3d at 793; Allan J. Richardson &

Assocs., 718 S.W.2d at 835.           While it may still be reasonable to

expand    this    geographic    limitation    beyond   Furnish’s      specified

territory, the undisputed facts in this case show such an expansion

to include all fifty states is unreasonable because no evidence

established Furnish worked in all fifty states.

     The evidence further shows the business interest IKON sought

to protect through the non-compete agreement was its customer

information and client base in the San Antonio area, only, and


                                       29
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 30 of 64



therefore, any extension of the protected geographic area would

exceed that necessary to achieve the sought-after protection. Even

though Furnish may have been privy to confidential information that

pertained     to    IKON’s   national     accounts,    his       client   base   and

territory consisted only of San Antonio.               IKON has not presented

any evidence that Furnish sought to expand his client base or

territory to any of its national accounts, while he has been

employed at Southwest.          This Court finds that even if IKON held

national     accounts     and   Furnish       was   privy    to    this    customer

information, it is not reasonable under the facts in this case to

expand     the     geographic   area    restriction     for       the   non-compete

agreement to all fifty states.

     Based upon a finding the geographic area restriction contained

in the non-compete covenant is unreasonable, this Court must find

the non-compete covenant, consisting of that contained in the First

as supplemented by the Second Agreement, or as it appears in the

Second Agreement, alone, is not enforceable as to this specific

geographic area restraint. Given this finding, Furnish is entitled

to summary judgment on IKON’s cause of action for breach of the

non-compete      covenant    based     upon   its   lack    of     enforceability.

However, instead of invalidating an otherwise unenforceable non-

compete agreement, Section 15.51(c) requires the Court to reform an

otherwise unenforceable non-compete covenant if it also finds the

restrictions impose greater restraint than necessary to protect its


                                        30
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 31 of 64



goodwill (prong 4 of Furnish’s burden of proof).                      See TEX . BUS . & COM

CODE    ANN.    §    15.51(c).        Thus,    this       Court   must      postpone    its

determination whether the non-compete covenant as it exists under

these facts should be reformed until it addresses the parties’

arguments with regard to the fourth prong of the enforceability

test:    whether       the     restrictions        impose   greater      restraint      than

necessary to protect a valid business interest.

       IKON         attempts     to    argue        the     non-compete       covenant’s

enforceability as it relates to the geographic area is not at issue

because it seeks to enforce the agreement limited only to the area

in which Furnish was assigned within the 2 year period prior to his

termination.           However, IKON’s limited enforcement of the non-

compete covenant does not change or void the prerequisite legal

finding        that     the     covenant,      itself,       is    unreasonable         and

unenforceable.         This Court must first determine the reasonableness

of the non-compete covenant, and then, if it is reasonable, look to

its enforcement.          If IKON chooses to limit its enforcement of an

otherwise       legally       sound   non-compete         covenant,    it    may   do   so.

However, it must, first, have a legally sound and enforceable non-

compete covenant.             IKON does not get to limit its enforcement of

the covenant to avoid its lack of reasonableness or to avoid

reformation.




                                              31
           Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 32 of 64



                         c.        Scope of Activity

       In his reply to IKON’s response to his motion for summary

judgment,            Furnish       presents     vague         and    ill-formed     argument    to

challenge the reasonableness of the scope of activity prohibited by

the non-compete covenant as it appears in the Second Agreement.

See Docket no. 41, reply brief, p. 4.                               Furnish presents cursory

argument the provision unreasonably prohibits him from “working in

any capacity for an enterprise that competes with ‘the Company’s

Business’ in any respect” and unreasonably restricts his activity

beyond that which he performed for IKON, to include activity such

as,    “selling          or    leasing      a   wide          array   of   office    equipment,

telephony, and office networking systems.”                                 Id. at p. 3.        The

evidence             cited    by     Furnish     to       support       this   contention       is

incomplete.5            Because Furnish presents vague argument for the first

time       in    his     reply      brief     and     presents        incomplete     supporting

evidence, this Court will not address this argument.

       Also, as part of this reasonableness analysis, the parties

dispute whether the liquidated damages clause is reasonable.                                   The

parties frame these arguments as part of the analysis to determine

whether the non-compete covenant is reasonable.                                   However, the

issues          of    the     reasonableness             of    the    restrictions     and     the

appropriateness of liquidated damages are separate and distinct.



       5
           Furnish cites “Tab 3, pp. 49-50".                  However, only page 50 is included,
and it does not support this argument.

                                                    32
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 33 of 64



Because the parties submit considerable argument on these damages

issues, the Court feels compelled to address them; however, not

within the context of determination whether the restraint period is

reasonable.      The Court will address all the parties’ arguments on

the propriety of damages following final determination of the

arguments        pertaining   to   the      reasonableness,   and      hence

enforceability of, the non-compete covenants.

            3.      Hardship Imposed

     Furnish argues the non-compete covenant fails under the fourth

statutory element regarding the enforceability of a non-compete

covenant: the covenant’s limitations in time, area, and scope did

not impose a greater restraint than is necessary to protect IKON’s

alleged goodwill or other business interest.          Furnish argues the

covenant is not enforceable because the hardship imposed upon him

and the injury to the public outweighs any protection afforded by

the agreement.

     Under the fourth statutory prong of enforceability of a non-

compete covenant, an employer must show the covenant’s restraints

on time, geographic area, and scope of activity did not impose a

greater restraint than was necessary to protect the employer’s

legitimate business interest.           TEX . BUS . & COM CODE § 15.50(a);

Anderson Chem. Co. v. Green, 66 S.W.3d 434, 437 (Tex.App.-Amarillo

2001, no. pet.).      In such inquiry, if the Court finds the covenant

is ancillary to a separate, enforceable agreement but imposes a


                                       33
        Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 34 of 64



greater restraint than necessary, the covenant, while unreasonable

and unenforceable, is not necessarily invalidated.             Instead, the

Court must reform the covenant to make the restraint reasonable.

TEX. BUS. & COM CODE § 15.51(c).      However, if the Court finds a non-

compete    covenant    is   not   necessary   to   protect   the   employer’s

legitimate business interest, the covenant cannot be reformed.

Daytona Group of Tx. v. Smith, 800 S.W.2d 285, 290 (Tex. App-Corpus

Christi 1990, writ denied); DeSantis, 793 S.W.2d at 685.                 If the

Court   finds    the   non-compete     covenant’s    restraints    on     time,

geographic area, and scope of activity did not impose a greater

restraint than was necessary to protect the employer’s legitimate

business interest, the Court must find it to be enforceable if it

also finds the remaining three statutory elements.            See TEX . BUS .&

COM. CODE. § 15.50(c).

     In light of this Court’s previous findings that IKON holds a

legitimate business interest worthy of the protection of a non-

compete covenant, this Court also finds the non-compete covenant

entered by the parties is necessary to protect IKON’s business

interests.      Further, also in light of the Court’s findings with

regard to the lack of reasonableness of the time and geographic

area restrictions within the non-compete covenant, the Court also

finds these restrictions impose a greater restraint than necessary

to protect IKON’s asserted interests.              The tolling restriction

imposes a restraint greater than necessary to protect IKON’s

                                      34
       Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 35 of 64



business interest because it creates an unlimited and undefined

restraint period, beyond the time negotiated.                     Any restraint of

activity     for      an   indefinite       time     is    not    reasonable,       and

consequently, imposes a greater restraint than necessary to protect

a business interest.          The geographic area restriction is greater

than necessary because IKON’s business interest protected by the

non-compete agreement is only effective and valid in the San

Antonio/Bexar County area.           Therefore, any restraint on Furnish’s

conduct     outside    this    geographic     area    is   not    related     to   this

business interest, and consequently, imposes a greater restraint

than necessary. For these reasons, this Court finds the covenant’s

limitations in time and geographic area impose a greater restraint

than is necessary to protect IKON’s goodwill or other business

interest.

             4.    Reformation

      Upon finding a non-compete covenant contains restrictions that

are   not    reasonable       and   these   restrictions         impose   a   greater

restraint than necessary, the Court must reform the non-compete

covenant to make these restraints reasonable.                    TEX . BUS . & COM CODE

ANN. § 15.51(c).

      If the covenant is found to be ancillary to or part of an
      otherwise enforceable agreement but contains limitations as to
      time, geographical area, or scope of activity to be restrained
      that are not reasonable and impose a greater restraint than is
      necessary to protect the goodwill or other business interest
      of the promisee, the court shall reform the covenant to the
      extent necessary to cause the limitations contained in the
      covenant as to time, geographical area, and scope of activity

                                        35
        Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 36 of 64



       to be restrained to be reasonable and to impose a restraint
       that is not greater than necessary to protect the goodwill or
       other business interest of the promisee and enforce the
       covenant as reformed, except that the court may not award the
       promisee damages for a breach of the covenant before its
       reformation and the relief granted to the promisee shall be
       limited to injunctive relief.

TEX.   BUS.   &   COM   CODE   ANN .   §   15.51(c).   Therefore,      instead     of

invalidating a non-compete covenant that contains unreasonable, and

unenforceable, restrictions, a Court must reform the non-compete

covenant, revising the unreasonable provisions to those which are

reasonable under the circumstances.6               Id.; Butler, 51 S.W.3d at

794; Allan J. Richardson & Assocs., Inc., 718 S.W.2d at 835-36.

However, under Section 15.51(c), the effect of reformation in this

case would deprive IKON of damages for Furnish’s alleged violation

of the covenant not to compete and limit its remedy to injunctive

relief, only.       Under the unique circumstances of this case, the

Court finds such a result is unjustified.




         6
                In this case, neither party specifically pleads or requests
reformation. Some case law exists which supports the proposition that a party
waives its right to reformation if reformation is not requested in the pleadings.
See Hardy v. Mann Frankfort Stein & Lipp Advisors, Inc., No. 01-05-010800-CV,
2007 WL 1299661 at *13 (Tex. App.-Houston [1 st Dist.] 2007, no pet.); John R. Jay
& Sons, Inc. v. Stroman, 923 S.W.2d 80, 85-86 (Tex. App.-Houston [14 th Dist.]
1996, writ denied). However, these cases cite as precedential support caselaw
that has been superceded by statute amendment. Section 15.51(c) was amended in
1993 to remove the requirement that a party request reformation and to require
a court to reform a covenant upon finding it unreasonable and the restraints are
greater than necessary to protect a valid business interest. See T X . B US . & C OM .
C ODE A NN . § 15.51(c)(Historical and Statutory Notes). Also, a determining factor
in these cases is the parties’ failure to request injunctive relief. Thus, under
the facts in this case, and in light of the mandatory statutory language in
Section 15.51(c), the Court concludes reformation is required upon the requisite
findings.

                                           36
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 37 of 64



     Normally, when a court determines a provision in a non-compete

agreement is unreasonable and must be reformed, the Court is

required to create a valid provision that did not exist before.

For that reason, it would be unfair to the employee to pay damages

for violating conduct he could not have known was improper.            This

reasoning was succinctly set forth by the Texas Supreme Court in

Weatherford Oil Tool Co. v. Campbell, 161 Tex. 310, 340 S.W.2d 950,

952-53 (1960),

     If the agreement is not reasonably limited as to either
     time or space, the parties are not definitely apprised of
     their respective rights and duties until a court of
     equity has carved out an area or a period that is
     reasonable under the circumstances. It is one thing for
     the court to do this as an incident to the granting of
     injunctive relief which operates prospectively and an
     entirely different matter to reform the contract for the
     purpose of giving the employer a cause of action for
     damages. In the latter situation the defendant would be
     required to respond in damages for what he had done at a
     time when there was no way of determining, except
     possibly by an action for declaratory judgment, where or
     for how long he was legally obligated to refrain from
     competing. We hold that an action for damages resulting
     from competition occurring before a reasonable territory
     and period have been prescribed by a court of competent
     jurisdiction must stand or fall on the contract as
     written.

Thus, if the agreement is not enforceable in accordance with its

terms because either the time or the area stipulated therein is

unreasonable, the employer may obtain injunctive relief but will

not be awarded a money recovery for anything the employee may have

done prior to a judicial declaration of the rights and obligations




                                   37
        Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 38 of 64



arising from the contract.            See Juliette Fowler Homes, Inc., 793

S.W.2d at 663.

       In   this    case,    the    First    Agreement         contains      a    one-year

restriction and establishes a geographical limitation to Bexar

County.     Furnish does not dispute that those provisions are valid

and reasonable.       The Second Agreement contained the unreasonable

time    and   geographical         restrictions.            The   Court      finds     that

reformation can be accomplished in this case by simply excising the

unreasonable provisions.            There is no need to create reasonable

time    and   geographical         provisions         to   replace   them,        as   such

provisions already exist in the First Agreement.                     Because Furnish

was always on notice of those valid and reasonable limitations,

IKON should not be precluded from recovering damages if it is able

to prove to a jury that Furnish violated the covenant not to

compete and that it suffered damages as a result.

       However, the unsettled issue of novation could still impact

IKON’s cause of action against Furnish for violating the covenant

not to compete. IKON created this uncertainty by requiring Furnish

to sign the Second Agreement, which contained unreasonable time and

geographical limitations.            As noted above, the summary judgment

evidence shows a genuine issue of material fact exists regarding

the intent of the parties to effect a novation.                      Should the jury

determine     the   Second    Agreement          is   a    supplement   to       the   First

Agreement, then the Court must remove the unreasonable time and


                                            38
          Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 39 of 64



geographic restrictions from the Second Agreement, leaving the

reasonable restrictions in the First Agreement intact. Because the

Court construes this excision is not the type of reformation as

anticipated in Section 15.51(c), the Court further proposes IKON

can recover damages under the original valid time and geographical

restrictions in this event.            However, should the jury find the

Second Agreement is a novation, then the Second Agreement, with its

unreasonable time and geographical provisions, takes the place of

the First Agreement.        In that case, the First Agreement, with its

valid      time   and   geographical     restrictions,     is   extinguished,

requiring reformation of the Second Agreement by creation of new

time and geographic restrictions.7           If that occurs, IKON will be

precluded from recovering damages under the reformed covenant. See

TEX. BUS. & COM CODE ANN . § 15.51(c); see also Emergicare Sys. Corp.,

942 S.W.2d at 205 (Court entered take-nothing judgment after

covenant found to be unreasonable because employer sought only

liquidated damages, not injunctive relief); Butler, 51 S.W.3d at

796 (money damages for breach prior to reformation precluded;


      7
           In this event, given that it is presumed and undisputed that a one-
year limitation is reasonable, and the initial restraint period in the Second
Agreement limits the time restraint to one year, this Court recommends
reformation to limit the restraint period to 12 months following termination of
Furnish’s employment with IKON and commencing on the date of his termination.
The Court should omit paragraph 20, which contains the tolling provision. See
Stone, 53 S.W.3d at 696; See Docket no. 32, exh. 4, p. 2, pars.8, 20. Also, given
that it is presumed a geographic limitation that covers only the area where the
employee worked during his employment is reasonable, and the record contains
undisputed evidence this geographic area was limited to Bexar County, this Court
recommends reformation to limit Furnish’s actions in Bexar County, only.      See
Butler, 51 S.W.3d at 793.

                                       39
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 40 of 64



recovery limited to injunctive relief after reformation); Peat

Marwick,       818     S.W.2d      at    388   (reformation      precluded      award   of

liquidated damages).

     IKON further argues the Second Agreement contains a severance

clause     requiring        any     provisions      found   by    the    Court    to    be

unreasonable to be severed from the remaining contract, making

determination of the novation and reformation issues ineffectual.

Ikon’s argument fails under the clear language of the severance

clause.     The severance clause contained in the Second Agreement

states, “the invalidity of any term or provision of this Agreement,

including any term or provision of paragraphs 7,8,9,10,11,and 12,

shall    not     invalidate        or     otherwise   affect     any    other    term   or

provision of this Agreement.”                  Docket no. 32, exh. 4, par. 19.

This severance clause prevents a finding of the invalidity of the

whole contract upon a finding that a portion of it is invalid.                          Its

effect is to preserve the integrity of any remaining provisions in

the Second Agreement.                   Therefore, the severance clause has no

relevance to determination of the novation issue. Further, whether

the Second Agreement is a supplement or a novation, the severance

clause     has    no      effect    on     determination    of    the    necessity       of

reformation, as it only protects the validity of the remaining

portions of the agreement.                  Also, because this Court finds its

modification         of    the    non-compete       covenant     is    not   traditional




                                               40
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 41 of 64



“reformation”, as anticipated in Section 15.51(c), IKON’s argument

is irrelevant.

     D.     Damages

     Without specifically moving for summary judgment on the issue,

Furnish argues the liquidated damages clause contained in the First

Agreement is not reasonable.        Because it is not a reasonable

calculation of damages, Furnish argues the liquidated damages

clause contained in the First Agreement, only, should not be

enforced.    IKON argues the pertinent liquidated damages clause

“represents a reasonable prediction of the just compensation to

which IKON is entitled” in the event Furnish breaches the non-

compete covenant. “Rather than requiring IKON to wait indefinitely

to determine the full extent of the lost profits it will suffer for

many years into the future”, IKON argues the liquidated damages

clause “provides a formula by which those future lost profits (i.e.

IKON’s just compensation) may reasonably be calculated.”

     Whether a contractual provision is an enforceable liquidated

damages provision or an unenforceable penalty is a question of law

for the court to determine.     Phillips v. Phillips, 820 S.W.2d 785,

788 (Tex. 1991)(supporting cases cited therein). Thus, even though

Furnish does not formally move for summary judgment on the issue,

because the parties each present opposing argument and evidence,

the Court should determine this question of law at this time.

However, because the opposed liquidated damages clause appears in


                                   41
        Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 42 of 64



the First Agreement, only, determination of the enforce-ability of

the   liquidated    damages   clause     has   no   effect   until    the   jury

determines the issue of novation.

       The universal rule for measuring damages for the breach of a

contract is just compensation for the loss or damage actually

sustained.      By operation of this rule, a party, generally, should

be    awarded    neither   less   nor   more   than   his    actual   damages.

Phillips, 820 S.W.2d at 788.        While liquidated damages provisions

often appear in non-compete covenants, the right of competent

parties to make their own bargains is limited.                A party has no

right to have a court enforce a stipulation which violates the

universal rule that damages are limited to the loss actually

sustained.      To be enforceable, a liquidated damages provision must

follow the universal rule of damages calculation, and thus, must be

a reasonable forecast of just compensation for any harm that could

be caused by a breach.      Stewart v. Basey, 245 S.W.2d 484, 486 (Tex.

1952); Prof’l Beauty Products, Inc. v. Derington, 513 S.W.2d 236,

238 (Tex.Civ.App.-El Paso 1974, writ ref'd n.r.e.).                   Thus, to

protect against stipulation of damages that act as a penalty rather

than just compensation, there exists a two-part test to determine

the enforceability of a contractual liquidated damages provision:

(1) the harm caused by a breach would be impossible or difficult to

calculate or estimate, and (2) the amount of liquidated damages

called for is a reasonable forecast of just compensation.                    Rio


                                        42
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 43 of 64



Grande Valley Sugar Growers, Inc. v. Campesi, 592 S.W.2d 340, 342

n. 2 (Tex. 1979); Stewart, 245 S.W.2d 486; see also Blase Indus.

Corp. v. Anorad Corp., 442 F.3d 235, 238 (5th Cir. 2006); Mayhall

v. Proskowetz, 537 S.W.2d 320, 322 (Tex.Civ.App. -Austin 1976, writ

ref'd n.r.e.)(liquidated damage provision in non-compete covenant).

     The pertinent liquidated damages provision as it appears in

the First Agreement, in a section titled “Damages for Breach”,

states,

     [i]n the event of a breach by Employee, Company shall be
     entitled to the greater of actual compensatory, punitive
     and other damages, or liquidated damages as referenced
     herein. For each customer or account of Company that
     Employee contacts, causes to be contacted, or otherwise
     works with or for in violation of Section 2.1, Employee
     shall pay to Company Liquidated Damages in the amount of
     the average monthly billing by Company to that customer
     or account, times the applicable number of months
     specified in Section 2.1(a)[(12 months)]. The average
     monthly billing shall be the average billing by Company’s
     office where Employee worked during the 12 months
     preceding Employee’s termination, and the average shall
     be calculated based only on those months in which the
     account was actually billed by Company.

Docket no. 32, exh. 2, p. 4, par. 2.1(c).      In the Second Agreement,

the Section titled “Remedies for Breach” contains a completely

different clause.   This section omits any entitlement or reference

to, or calculation of, liquidated damages.        The section states,

     Company’s Right to Injunction.     Employee acknowledges
     that the Company will have no adequate means of
     protecting its rights under Paragraphs 7,8,9, and 10 of
     this Agreement other than by securing an injunction....
     Accordingly, Employee agrees that the Company is entitled
     to enforce this Agreement by obtaining a temporary,
     preliminary, and/or permanent injunction and any other

                                   43
           Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 44 of 64



       appropriate equitable relief.... Employee acknowledges
       that the Company’s recovery of damages will not be an
       adequate means to redress a breach of this Agreement.
       Nothing contained in this paragraph, however, shall
       prohibit the Company from pursuing any remedies in
       addition to injunctive relief, including recovery of
       damages.

Id. at exh. 4, p.3, par. 11.

       Before addressing the substantive merits of the parties’

arguments, the Court must, first, address the issue regarding the

omission of the liquidated damages clause in the Second Agreement

and its replacement with other possible relief.                 In the event the

jury       finds    the    Second   Agreement   is   a   novation    of    the    First

Agreement,          any    determination   of    the     enforceability      of    the

liquidated damages provision becomes irrelevant.                    However, if the

jury finds the Second Agreement is a supplement to the First

Agreement, the Court must determine how the two clauses can exist

together.          Thus, this Court will proceed with this analysis in the

event the jury determines the Second Agreement is a supplement.

       Review of the liquidated damage provision as it appears in the

First Agreement reveals it calls for an unreasonable calculation of

damages       and    is,    thus,   unenforceable.        First,     the   pertinent

provision allows IKON to recover the greater of actual damages or

liquidated damages.8           By establishing the potential to recover an



       8
             The provision states, “[i]n the event of a breach by Employee,
Company shall be entitled to the greater of actual compensatory, punitive and
other damages, or liquidated damages .” Docket no. 32, exh. 2, p. 4, par. 2.1(c)
(emphasis added).

                                           44
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 45 of 64



amount more than actual damages, this stipulation violates the

universal rule of measuring damages for the breach of a contract.

Under    this    rule,    liquidated      damages    should    be   a   reasonable

calculation of the estimation of actual damages; IKON cannot be

intentionally awarded more than its actual damages.                 Phillips, 820

S.W.2d at 788.           Because the provision violates this primary,

universal rule of measuring damages, it fails the second prong of

the two-part test of enforceability: the amount of liquidated

damages called for is a reasonable forecast of just compensation.

Mayhall, 537 S.W.2d at 322.                Based upon this violation, the

liquidated damages provision in the First Agreement cannot be

enforced.

      Next, for a second reason, the liquidated damages provision

does not provide for a reasonable calculation of just compensation.

Under the terms of the provision, for every customer that Furnish

contacts in violation of the non-compete covenant, the provision

allows IKON to recover the amount of the “average monthly billing”

by IKON to that customer.            The universal rule of measuring damages

limits recoverable damages to the loss actually sustained.                  Thus,

under this rule, IKON may only recover the profits it would have

earned but for Furnish’s proven breach.                   “Lost profits must be

based on net profits, not gross revenues.”                Texaco, Inc. v. Phan,

137     S.W.3d   763,     771    (Tex.App.-Houston        [1   Dist.]   2004,     no

pet.)(“‘Net      profits’       is   defined   as   the   difference    between   a


                                          45
          Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 46 of 64



business’s total receipts and all of the expenses incurred in

carrying on the business.”).               Under this provision, IKON would

recover its “billings”, or gross revenues, rather than its lost

profits.       Thus, the provision does not provide a “reasonable

forecast of just compensation” and cannot be enforced.

      Finally, the provision inflates the amount IKON would have

actually      billed    a   given   customer,     allowing    it   to   recover   an

unreasonable amount. The provision provides for the calculation of

“average      monthly    billings”    to    be   used   in   the   calculation    of

liquidated damages and provides an example how to calculate this

“average monthly billings” amount. While the provision states “the

average shall be calculated based only on those months in which the

account was actually billed by Company”, which is a reasonable

calculation of the relative “average” (just compensation), the

provision then goes on to multiply this average by twelve months to

calculate the amount IKON will recover under the liquidated damages

provision.9      If the provision would have stopped at awarding IKON

liquidated damages in the amount of average billings for the past

twelve months (notwithstanding the previous discussion regarding

the “billings” v. “profits”), this would constitute a reasonable

calculation of just compensation.               However, it went on to multiply

this average by 12 months, without any justification.                    Thus, the


      9
           The provision states Furnish “shall pay to Company Liquidated Damages
in the amount of the average monthly billing by Company ... times the applicable
number of months specified in Section 2.1(a)[(12 months)].”

                                           46
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 47 of 64



ultimate calculation of liquidated damages allows IKON to recover

gross revenues from Furnish in an amount twelve times its average

billings and without regard to whether it would have actually

billed a customer.   This calculation, then, allows IKON to recover

more gross revenues than it would have billed to a particular

customer under normal circumstances.        Thus, again, violating the

second prong of the enforce-ability test.

     IKON argues its liquidated damages calculation is identical to

that held to be reasonable in Henshaw v. Kroenecke, 656 S.W.2d 416,

419 (Tex. 1983). However, IKON’s reliance on Henshaw is misplaced.

In Henshaw, the liquidated damages provision, though not provided

in the opinion, allowed only for “one year’s average billing”. The

liquidated damages provision in the First Agreement in this case

takes the relative “one year’s average billing”, held to be a

reasonable calculation in Henshaw, and then multiplies it by 12.

Thus, inflating the amount IKON would have actually billed a given

client. Thus, the liquidated damages provision in this case is not

like that in Henshaw.

     Because the liquidated damages provision contained in the

First Agreement violates the two-prong test of enforceabilty for

several reasons, it is an unenforceable penalty as a matter of law.

See Phillips, 820 S.W.2d at 788.     For this reason, even if the jury

were to determine the Second Agreement is a supplement to the First

Agreement, the liquidated damages provision is not enforceable.

                                   47
       Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 48 of 64



The   “Remedies   for   Breach”      provision    contained   in     the    Second

Agreement would remain intact, and thus, control.

      E.   Furnish Attorney Fees

      Furnish contends he is entitled to recover his costs and

attorney fees incurred in defending this action based upon this

Court’s finding the non-compete agreement was unreasonable as to

time, geographic area, and scope of activity. This matter does not

appear appropriate for summary judgment, but rather for debate

following a final judgment in his favor.            However, to the extent

the parties present argument at this time, the Court will address

the issue.

      Section 15.51(c) provides, if the purpose of an employment

agreement is for the rendition of personal services (as in this

case), and the employee shows the employer knew at the time the

agreement was executed that the non-compete covenant contained

unreasonable restrictions, and these restrictions were greater than

necessary to protect the goodwill or other business interest of the

employer, the Court may award the employee costs and attorney fees

actually and reasonably incurred in defending an action to enforce

the covenant.     TX. BUS . & COM . CODE ANN . §15.51(c).      As support for

his request for reimbursement of costs and attorney fees, Furnish

contends the fact that the restraints on time and geographic area

changed between the First and Second Agreements reflects IKON’s

understanding     of   “case   law   prevailing    at   the   time    the   First


                                       48
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 49 of 64



Agreement was signed” and establishes its knowledge “that the non-

competition provisions [in the Second Agreement] were overly broad

and unreasonable.”       This Court finds this inference derived from

changes in the Employment Agreements to be an insufficient basis

for   concluding      IKON    knew   the    Second    Agreement    contained

unreasonable restraints.         Furnish provides no other evidence to

establish such a showing.        Therefore, this Court finds Furnish is

not entitled to summary judgment on this issue of attorney fees.

      In summary, with regard to IKON’s causes of action for breach

of the non-compete agreements in both the First Agreement and the

Second Agreement, the Court should order the complaint be amended

to reflect only one cause of action, or the Court should sua sponte

dismiss one of the causes of action and hold IKON may only pursue

one cause of action for violation of the non-compete agreement,

either as reflected in both agreements, or as reflected in only the

Second Agreement.       Next, for the reasons stated above, the Court

finds some of Furnish’s arguments in support of summary judgment on

IKON’s cause of action for breach of the non-compete covenant to be

valid.    Therefore, Furnish’s motion for summary judgment should be

GRANTED on Furnish’s affirmative defense on the limited issue of

lack of enforceability of the time and geographic area restrictions

in the non-compete covenant.            However, even in light of the

requisite findings for reformation, the non-compete covenant should

not be reformed, but rather, the unreasonable provisions contained


                                      49
           Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 50 of 64



in the Second Agreement should simply be removed.                Thus, the time

restriction of the non-compete agreement should be limited to one

year immediately following Furnish’s termination of employment, and

the geographic-area restriction should be limited to Bexar County.

      In the event the jury determines the Second Agreement is a

novation of the First Agreement, the Court must reform the Second

Agreement.       In such case, the time restriction should be reformed

to    be     limited    to     one   year   immediately    following    Furnish’s

termination of employment.            The geographic-area restriction should

be reformed to be limited to Bexar County.                In this event, IKON is

not entitled to recover any money damages.

      The Court finds the liquidated damages provision contained in

the First Agreement is not reasonable, and therefore, is not

enforceable.           Thus,    whether     the   jury   determines    the   Second

Agreement is a novation or a supplement, the liquidated damages

provision should not be enforced. In the event the jury determines

the Second Agreement is a supplement, and Furnish breached the non-

compete covenant, damages shall be limited to those lost profits

IKON can prove it incurred due to Furnish’s breach.

II.   MISAPPROPRIATION OF TRADE SECRETS

      IKON asserts a cause of action for misappropriation of trade

secrets.        From IKON’s complaint and response to the motion for

summary judgment, this Court has fashioned a description of the

specific proposed trade secret IKON seeks to protect.                  From these


                                            50
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 51 of 64



sources, the Court finds the crux of IKON’s argument to be Furnish

wrongfully used its customer lists and information pertaining to

its customer contacts, customer preferences, and pricing objectives

(collective customer information) obtained and used by Furnish

through his employment experience.

      Normally, to prevail on a cause of action for misappropriation

of trade secrets and/or confidential information, a plaintiff must

show (1) the existence of a trade secret; (2) a breach of a

confidential relationship; (3) the defendant used or disclosed the

trade secret; and (4) it suffered injury as a result.                                 Guy

Carpenter & Co., Inc. v. Provenzale, 334 F.3d 459, 467 (5th Cir.

2003).      “A    trade    secret   is    any    formula,       pattern,   device     or

compilation of information which is used in one’s business, and

which    gives    him     an   opportunity      to    obtain    an    advantage    over

competitors who do not know or use it.”                Id. (quoting Hyde Corp. v.

Huffines, 314 S.W.2d 763, 760 (1958). Because it does not normally

rise to the stature of the type of information afforded “secrecy”,

customer      information       that     can    be    gleaned        through    general

investigation and experience with a client is not normally given

trade secret status.           See Guy Carpenter & Co., 334 F.3d at 467;

Trilogy Software, Inc. V. Callidus Software, Inc., 143 S.W.2d 452,

467   (Tex.      App.-Austin     2004,    pet.       denied).        However,    if   it

constitutes information a company compiles to be used in its

business, information such as a customer list, contact persons,

                                          51
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 52 of 64



customer preferences, and pricing information may constitute a

trade secret.    Although information generally known and readily

available to the public or through general investigation is not

protectable as a trade secret, the trade secret protection remains

intact if ascertaining the information would be difficult, costly,

or time-consuming.   See Parker Barber & Beauty Supply, Inc. v. The

Wella Corp., No. 03-04-00623-CV, 2006 WL 2918571 at *15 (Tex. App.-

Austin, Oct. 11, 2006, no pet.)(citing Restatement 3d. of Unfair

Competition, § 39, cmt f); Guy Carpenter & Co., 334 F.3d at 467;

Trilogy Software, Inc., 143 S.W.2d at 467; Allan J. Richardson &

Assocs., Inc., 718 S.W.2d at 836. “Consistent with this concept of

secrecy, a former employee may use the general knowledge, skills,

and experience acquired during employment to compete with a former

employer.”   Trilogy Software, Inc., 143 S.W.2d at 467.

     A.   Prong One: Existence of a Trade Secret

     The parties’ primary arguments with regard to this cause of

action focus on the first prong of IKON’s burden of proof: whether

IKON holds a protectable trade secret.          Furnish contends he is

entitled to summary judgment on this cause of action because the

collective customer information IKON seeks to protect is readily

ascertainable   using    common    trade    directories     and    general

investigation, and therefore, does not constitute a trade secret as

a matter of law. IKON contends the collective customer information

is a trade secret because collection of the information required

                                   52
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 53 of 64



significant time and expense and is of great value to competitors.

      To make the determination whether a trade secret exists,

courts     ordinarily   evaluate    and     weigh    six   factors.    However,

determination whether a customer list constitutes a trade secret

involves evaluation of three of these factors: “(1) what steps, if

any, an employer has taken to maintain the confidentiality of a

customer list; (2) whether a departing employee acknowledges that

the customer list is confidential; and (3) whether the content of

the list is readily ascertainable.”           Guy Carpenter & Co. Inc., 334

F.3d at 467 (cases cited therein); see also Parker Barber & Beauty

Supply, Inc., 2006 WL 2918571 at *15; In re Bass, 113 S.W.3d 735,

739 (Tex. 2003)(utilizing 6-factor test found in RESTATEMENT             OF   TORTS

§ 757 cmt. b).10        In Texas, the issues whether information is

generally known or readily ascertainable and whether the employer

took steps to maintain confidentiality are questions of fact;

however,     the   ultimate   determination         whether   a   customer    list

constitutes a trade secret is a question of law.              See Guy Carpenter

& Co., 334 F.3d at 468; Chemtrust Indus. v. Share Corp., Civ. A.

No. H-82-1224, 1987 WL 13822 at *5 (S.D. Tx. 1987).




      10
            This Court finds the three-factor test utilized in Guy Carpenter &
Co. to be instructive, as this is a Fifth Circuit case, and the three-factor test
incorporates all the elements included in the 6-factor test of the Restatement
of Torts.

                                       53
          Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 54 of 64



                1.   Examination of Factors One and Two

         Examination of the summary judgment evidence presented shows

a genuine issue of material fact exists with regard to the first

two factors to determine the existence of a trade secret for

customer information: the employer took steps to maintain the

confidentiality of a customer list, and the departing employee

acknowledges that the customer list is confidential. IKON presents

undisputed summary judgment evidence that it and its employees

consider the collective customer information to be confidential and

guard this confidentiality.             Docket no. 39, tab A, Janisch aff.,

pars. 17-22; tab D, Smith aff., pars. 10-16; see also Docket no.

32, tab 3, Wood depo., pp. 50-60, 133-137; tab 1, Furnish depo. pp.

59-61, 116-117, 131-132.          In his affidavit, Janisch states IKON

considers the information to be confidential, and therefore, goes

to   great      lengths   to   protect    it     by   requiring    employees     sign

confidentiality agreements, restricting access to such information,

and maintaining an audit procedure.                  Docket no. 39, tab A, pars.

17, 22.         Smith confirmed this confidentiality by attesting this

collective customer information is essential to IKON’s maintenance

of   a    competitive     advantage      in    the    small    market   place,    and

therefore, it protects it from competitors.                   Docket no. 39, tab D,

pars. 10,12,14-16.

         With    regard   to   factor     two,       Furnish    acknowledged     this

confidentiality when he signed the Employment Agreements.                      In his

                                          54
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 55 of 64



deposition, Furnish also acknowledged this confidentiality, by

stating, “things we do in-house, jobs, pricing, customers that we

dealt with ... that would be something that to me is confidential.”

See Docket no. 39, tab E, pp. 116-117.      Although it does not cover

the extent of all of the information IKON seeks to protect, this

evidence raises a genuine issue of material fact whether Furnish

acknowledges the confidentiality of at least a portion of the

collective customer information IKON seeks to protect.         Therefore,

upon consideration of this summary judgment evidence the Court

finds a genuine issue of material fact exists whether IKON took

steps to maintain the confidentiality of the collective customer

information and whether Furnish acknowledges the confidentiality of

the collective customer information.

          2.    Examination of Factor Three

     The focus of the parties’ primary arguments with regard to the

existence of a trade secret relate to the third factor to be

considered by this Court: whether the content of the collective

customer information is readily ascertainable.         IKON contends the

collective customer information was collected through years of

experience with each particular client and, although customer

contacts and telephone numbers are available through industry

directories, the extent of the information in its database is not.

Furnish contends the collective customer information IKON seeks to

protect is readily ascertainable through general investigation and


                                   55
       Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 56 of 64



inquiry because the market base is relatively small.                   While IKON

contends the information is confidential and may be difficult to

obtain, Furnish contends the information can be gleaned by simple

inquiry with the client base and good general investigation, thus

precluding it from reaching trade secret status.

      Furnish    presents   summary    judgment        evidence     showing     the

collective customer information is, for the most part, generally

known and readily available to the public or through focused,

general investigation.        Furnish’s evidence shows that while IKON

engages    in   many   varied   services    for    the     legal    and   business

community, Southwest engages only in the document duplication

service for law firms in San Antonio, thus making the competitive

market base very small and transparent.           Docket no. 32, tab 3, Wood

depo., p. 38; tab 1, Furnish depo. p. 12; tab 5, Rexilius depo., p.

13.   In his deposition, Keenan Mark Wood attests IKON’s Account

Managers    used   industry     directories       as   a    resource      to   gain

information about current and potential customers.                 Docket no. 39,

tab I, Wood depo., pp. 61-62, 71.          These directories are available

to the public and are used by IKON’s competitors as well.                       Id.

Further, it is undisputed Southwest held many of the same clients

as IKON.    It can be presumed Southwest thereby collected its own

customer data through its experience with the same clients.

      Also, Furnish attests in his deposition that, due to the small

market base, any competitor’s pricing scheme on a particular

                                      56
       Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 57 of 64



customer is readily available by simple inquiry of the customer.

Docket no. 32, tab 1, Furnish depo., pp. 120, 131-133.             Further,

because the market base is so small, it is common knowledge, not

secret, how each competitor prices its services.             Id.    In his

deposition, Chad Smith states, “a lot of people” have a “feel for

what the industry is going to dictate” with respect to price “so

typically the smaller mom & pop shops come in and they just price

themselves just conveniently under the same price.” Docket no. 32,

tab 3, Smith depo., pp. 88-89. Finally, Furnish’s summary judgment

evidence shows customers in the San Antonio legal community do not

use   one   copy   service   exclusively,    but   change   according   to

circumstantial factors such as time constraints, project size and

other specific needs.     Docket no. 32, tab 3, Wood depo., pp. 53-56,

102, 189.

      Texas case law supports Furnish’s theory that the customer

information IKON seeks to protect is not of similar nature of the

customer information that has been historically held to rise to the

status of a trade secret.        See Guy Carpenter & Co., 334 F.3d at

467-468. In Guy Carpenter, the Court evaluated many Texas cases in

which customer information and pricing schemes were found to fall

short of trade secret status.        Id.    The Court concluded in that

case that information similar to that in this case failed to

achieve trade-secret status because the information was readily

ascertainable.     Id. at 468.   To make this determination, the Court

                                    57
       Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 58 of 64



found participants in the market “freely disclosed” the information

when asked, the market was relatively small, and the confidential

customer list was, therefore, relatively short.          Based upon these

factors, the employee could easily reconstitute the information

from general experience and with the aid of trade publications.

Id.

      This Court acknowledges the facts and circumstances in this

case closely resemble those in Guy Carpenter.            However, summary

judgment   is   precluded   because    IKON   presents   summary   judgment

evidence sufficient to raise a genuine issue of material fact

whether the time and expense involved in compiling and recording a

database of the collective customer information qualifies it for

trade secret status. In an affidavit from Chad Smith, IKON’s Legal

Document Services Sales Manager for San Antonio, he explains,

“information regarding clients’ pricing, expectations, case load,

and firm structure is essential to developing an understanding of

the clients’ needs and identifying document management solutions

that will meet those needs.”     Docket no. 39, tab D, par. 10.         Smith

explains this information also includes

      information regarding the identities of the specific
      buyers within a particular client organization, which
      consists of dozens or even hundreds of otherwise
      undifferentiated employees or representatives; the types
      and quantities of services those end-use producers need
      most; and the many different and specific kinds of
      production preferences and pricing needs the end-user or
      client organization, generally, might have....This
      information takes a great deal of effort and expense to


                                      58
        Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 59 of 64



     develop because clients do not always explain or
     articulate what their particular preferences and
     requirements are. It takes a significant investment of
     time by the Account Manager to develop, over the course
     of repeated dealings with the client, an understanding of
     these needs and the opportunities that are presented by
     each different customer or purchaser.

Id. at par. 11.     The evidence presented in Chad Smith’s affidavit

shows    the   information    IKON      seeks   to    protect,    such   as   an

“understanding of these needs and the opportunities that are

presented by each different customer or purchaser”, was gathered

and collected through each Account Manager’s course of dealings

with the client.       Id. at pars. 11-15.      IKON also presents summary

judgment    evidence    showing   the    collective    customer    information

cannot all be gleaned from trade directories and phone books, but

requires investigative and experiential work with the client.

Docket no. 39, tab I, Woods depo., pp. 71-72.

     In summary, the evidence presented by both parties raises a

genuine issue of material fact whether the collective customer

information IKON seeks to protect contains information requiring

extensive time and resources to collect and whether the information

provides a unique competitive advantage worthy of protection as a

trade secret.     Therefore, Furnish’s motion for summary judgment on

IKON’s cause of action for misappropriation of trade secrets should

be DENIED.




                                        59
        Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 60 of 64



     B.     Prong Three: Defendant Used or Disclosed the Trade Secret

     The third prong of a plaintiff’s burden of proof to show

misappropriation of a trade secret is “the defendant used or

disclosed the trade secret.”            Guy Carpenter & Co., 334 F.3d at 467.

Here,   IKON     admits    Furnish     did      not    misappropriate     its   entire

collective customer information, nor did he physically remove any

customer information from its records.                    Instead, IKON contends

Furnish utilized customer information pertaining to his specific

clients gained through his experience and expertise while working

for IKON.      Because Furnish utilized any client information in his

new position with Southwest, IKON contends he improperly used or

disclosed a trade secret.

     In     support       of     its   argument,       IKON    presents    Furnish’s

deposition.       In this deposition, Furnish states that while at

Southwest, if a previous customer called him, he would accept their

business, and he did initiate some contact.                   Docket no. 39, tab E,

pp. 96-97, 113-115.             Furnish also stated that while a customer

would tell him IKON’s price on a job, his knowledge of IKON’s

pricing scheme helped him in bidding work. Id. at 131-132. Furnish

presents summary judgment evidence attesting he did not physically

remove any of the collective customer information IKON seeks to

protect,    he    never        disclosed   any    of    the   collective    customer

information to anyone, nor did he use any of this information to



                                           60
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 61 of 64



solicit business for Southwest. Docket no. 32, tab 1, pp. 106-109,

128-129, 229-230.

     This Court finds this evidence raises a genuine issue of

material fact whether Furnish used or disclosed the information

IKON seeks to protect as a trade secret.       For this reason, Furnish

has failed to establish he is entitled to summary judgment as a

matter of law on IKON’s cause of action for misappropriation of

trade secrets. Therefore, Furnish’s motion for summary judgment on

IKON’s cause of action for misappropriation of trade secrets should

be DENIED.

III. TORTIOUS INTERFERENCE

     IKON asserts the cause of action against Furnish of tortious

interference   with   its   existing    business   contracts.      Furnish

contends he is entitled to summary judgment on this cause of action

because IKON cannot prove the required elements.           Specifically,

Furnish contends IKON held only one contract with a client to

perform copy services; this contract expired on its own terms, and;

IKON chose to not re-bid the contract work.        IKON also presents a

cause of action against Furnish for tortious interference with

prospective business contracts. Furnish contends he is entitled to

summary judgment on this cause of action because IKON cannot prove

the required element that he committed an independent tort, such as

fraud or assault.




                                   61
      Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 62 of 64



     IKON does not respond to these summary judgment arguments in

its response or sur-reply to the motion for summary judgment.

Because it does not respond to Furnish’s assertions of entitlement

to summary judgment on these causes of action, IKON essentially

concedes these points. Review of the undisputed facts and evidence

presented supports Furnish’s assertions of entitlement to summary

judgment on IKON’s causes of action for tortious interference with

actual and prospective business contracts.           Therefore, Furnish’s

motion for summary judgment on these causes of action should be

GRANTED.

                             RECOMMENDATION

     It    is   the   recommendation    of   the   Magistrate   Judge   that

Furnish’s motion for summary judgment on IKON’s causes of action

for tortious interference with prospective business relationships

and tortious interference with actual contracts should be GRANTED.

Furnish’s motion for summary judgment on IKON’s cause of action for

misappropriation of trade secrets be DENIED.              It is also the

recommendation of the Magistrate Judge that Furnish’s motion for

summary judgment on IKON’s cause of action for violation of the

parties’ non-compete covenant should be GRANTED in part and DENIED

in part.

     With regard to the cause of action for breach of the non-

compete covenant, it is, first, recommended the Court find IKON can

assert only one collective cause of action for breach of the non-



                                   62
       Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 63 of 64



compete agreement.     Next, it is recommended Furnish’s motion for

summary judgment on his novation affirmative defense be DENIED.

The   Court   recommends   granting    summary   judgment    on   Furnish’s

affirmative defense of unenforceability, limited to a finding the

non-compete covenant is unreasonable as to its time and geographic

area restrictions.      It is further recommended the Court modify

these provisions to reflect a one-year time restriction and a

geographic-area restriction of Bexar County.              Finally, it is

recommended the Court find the liquidated damages provision in the

First Agreement is not enforceable because it does not reasonably

calculate just compensation for several reasons.          However, IKON’s

receipt of any money damages with regard to violation of the non-

compete covenant is dependent upon the jury’s finding on Furnish’s

novation defense.

                     Instructions for Service and
                   Notice of Right to Appeal/Object

      The United States District Clerk shall serve a copy of this

United States Magistrate Judge's Memorandum and Recommendation on

all parties by either (1) electronic transmittal to all parties

represented by attorneys registered as a "Filing User" with the

Clerk of Court, or (2) by mailing a copy to those not registered by

certified mail, return receipt requested.          Pursuant to Title 28

U.S.C. Section 636(b)(1) and Rule 72(b), Fed.R.Civ.P., any party

who desires to object to this report must serve and file written

objections to the Memorandum and Recommendation within 10 days


                                    63
         Case 5:06-cv-00434-FB Document 81 Filed 10/31/07 Page 64 of 64



after being served with a copy unless this time period is modified

by the district court. A party filing objections must specifically

identify those findings, conclusions or recommendations to which

objections are being made and the basis for such objections; the

district court need not consider frivolous, conclusive or general

objections. Such party shall file the objections with the clerk of

the court, and serve the objections on all other parties and the

magistrate judge.        A party's failure to file written objections to

the proposed findings, conclusions and recommendations contained in

this report shall bar the party from a de novo determination by the

district court.          See Thomas v. Arn, 474 U.S. 140, 150 (1985).

Additionally,      any    failure   to   file   written   objections   to   the

proposed findings, conclusions and recommendation contained in this

Memorandum and Recommendation within 10 days after being served

with a copy shall bar the aggrieved party, except upon grounds of

plain error, from attacking on appeal the unobjected-to proposed

factual findings and legal conclusions accepted by the district

court.     Douglass v. United Servs. Auto. Ass'n, 79 F.3d 1413, 1428

(5th Cir. 1996).

     SIGNED October 31, 2007.


                                    _________________________________
                                    JOHN W. PRIMOMO
                                    UNITED STATES MAGISTRATE JUDGE



                                         64
